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                   IN THE DISTRICT COURT OF THE UNITED STATES
                       FOR THE DISTRICT OF SOUTH CAROLINA
                              SPARTANBURG DIVISION


Lakisha Smith,                              )
                                            ) Civil Action No. 7:16-cv-02760-MGL-KFM
                            Plaintif f,     )
                                            )          ORDER OF DISMISSAL
          vs.                               )
                                            )
AFL Telecommunications LLC,                 )
                                            )
                            Defendant.      )
                The Court having been advised by counsel for the parties that the above

action has been settled,

                IT IS ORDERED that this action is hereby dismissed without costs and

without prejudice. If settlement is not consummated within sixty (60) days, either party

may petition the Court to reopen this action and restore it to the calendar. Rule 60(b)(6),

F.R.Civ.P. In the alternative, to the extent permitted by law, either party may within sixty

(60) days petition the Court to enforce the settlement. Fairfax Countywide Citizens v.

Fairfax County, 571 F.2d 1299 (4th Cir. 1978). By agreement of the parties, the court

retains jurisdiction to enforce the settlement agreement. Kokkonen v. Guardian Life Ins.

Co., 511 U.S. 375, 381-82 (1994).

                The dismissal hereunder shall be with prejudice if no action is taken under

either alternative within sixty (60) days from the filing date of this order.

                IT IS SO ORDERED.


                                            s/Mary Geiger Lewis
                                            Mary Geiger Lewis
                                            United States District Judge

June 1, 2017
Columbia, South Carolina
